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                       UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA
                         FORT LAUDERDALE DIVISION

                            Case No. 0:19-cv-61937-WPD

GINA SIGNOR,

     Plaintiff,
v.

SAFECO INSURANCE COMPANY OF ILLINOIS,

     Defendant.
                                   /




           PLAINTIFF’S MEMORANDUM IN OPPOSITION TO SAFECO INSURANCE
          COMPANY OF ILLINOIS MOTION AND SUPPORTING MEMORANDUM TO
                   DISMISS PLAINTIFF’S CLASS ACTION COMPLAINT
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           Plaintiff Gina Signor (“Signor”) files Plaintiff’s Memorandum in Opposition to
   Defendant Safeco Insurance Company of Illinois’s (“Safeco’s”) Motion and Supporting
   Memorandum to Dismiss (“Motion”) 1 (ECF 10) Plaintiff’s Class Action Complaint
   (“Complaint”) (ECF 1-1) and for such would respectfully show the Court as follows:
                                              INTRODUCTION
           Safeco’s Motion seeks to complicate what otherwise is a straight-forward declaratory
   judgment and breach of insurance policy action. As this Response will show and Signor’s well-
   pled allegations demonstrate, the Court should deny the Motion.
                                  ARGUMENT AND AUTHORITIES
           I.     Signor Has Article III Standing to Bring Count I for Declaratory
                  Judgment.
           Safeco correctly notes that Signor’s claim for a declaratory judgment must present a
   real controversy, but incorrectly claims Signor must, but fails to, allege facts from which it
   appears there is a substantial likelihood that she will suffer injury in the future. Motion at 6-7.
   This ignores that Signor alleges a present, existing controversy between her and Safeco: that it
   used an improper method of valuing her total loss claim that breached her Policy and caused
   her damage, that it failed to pay her dealer fees which breached her Policy and caused her
   damage, and that it took her total loss vehicle without paying her for same, which also breached
   her Policy and damaged her. Complaint ¶¶ 1-6, 24 (at page 22) 2, 35-38 (at pages 24-25), and
   40-51 (at pages 25-27).
           Courts have consistently held that “it is beyond dispute that an insured has standing to
   request declaratory relief as to whether an insurance company wrongfully denied coverage of
   a claim.” Loveland ex rel. Loveland v. State Farm Fire & Cas. Co., 2013 WL 1325365, at *2
   (S.D. Fla. Apr. 1, 2013); see also, e.g., Gov’t Emps. Ins. Co. v. Dizol, 133 F.3d 1220, 1222 n.
   2 (9th Cir. 1998) (disputes between an insurer and its insureds over the duties imposed by an
   insurance contract satisfy Article III’s case and controversy requirement). The exact same



   1 The standards for granting a 12(b)(6) motion are well-known to the Court and are not
   repeated here.
   2 Page numbers are given as to some paragraph numbers to avoid confusion that could arise
   because of paragraph numbering errors in the Complaint.

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    reasoning applies to Signor’s requests for declaratory and supplemental relief. She has alleged
    an “injury-in-fact” that is “fairly traceable” to Safeco’s misconduct which can be “redressed
    by a favorable decision.” See Aaron Private Clinic Mgmt. LLC v. Berry, 912 F.3d 1330, 1336
    (11th Cir. 2019) (stating the requirements for standing).
            Safeco’s reliance on A&M Gerber Chiropractic LLC v. GEICO Gen. Ins. Co., ___ F.3d
    ___, 2019 WL 2292326 (11th Cir. May 30, 2019) is misplaced. Gerber is easily distinguishable
    because there was no present, ongoing controversy, only some speculative future
    disagreement. Gerber, unlike here, consisted of a single declaratory judgment claim against
    GEICO. Id., at *2. Gerber also, unlike here, sought a declaration even though the defendant
    entity admittedly owed no money to the plaintiff. Id.
            The 11th Circuit held that “when a plaintiff is seeking declaratory relief without a claim
    for money damages for injuries already suffered, the plaintiff must allege facts from which it
    appears that there is a substantial likelihood that he will suffer injury in the future.” Id., at *7
    (citing Strickland v. Alexander, 772 F.3d 876, 883 (11th Cir. 2014)) (emphasis added); see
    also Malowney v. Fed. Collection Deposit Group, 193 F.3d 1342 (11th Cir. 1999) (finding a
    lack of standing because the past injury was fully remedied and the plaintiff could not “assert
    a reasonable expectation that the injury they have suffered will continue or will be repeated in
    the future.”). This articulates longstanding Article III jurisprudence that a plaintiff must allege
    either an “actual” (i.e., existing) or “imminent” (i.e., substantially likely) injury to establish
    standing. E.g., Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992).
            Signor’s case here is materially different than Gerber, because Signor alleges Safeco
    has caused her an actual, existing unremedied monetary injury.
            II.      Signor’s Declaratory Judgment Action Properly Seeks A Declaration as to
                     the Coverage of and Safeco’s Breach of the Policy and Does Not Constitute
                     a Disguised Attempt to Bring Suit Under the UITPA.

            Safeco claims that “Signor’s request for declaratory relief is premised entirely on
    Safeco’s purported violations of Florida’s Claim Settlement Statute, Fla. Stat. § 626.9743” and
    argues that because Signor could not bring a cause of action for violation of § 626.9743, part
    of Florida’s Unfair Insurance Trade practices Act (“UITPA”), she cannot seek a declaration
    that Safeco is violating it. Motion at 5-6. Safeco is wrong on both counts.



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               First, Signor does not seek a naked declaration that Safeco is violating § 626.9743.
    Rather, she seeks a declaration that by using the CCC system and refusing to pay dealer fees,
    Safeco is breaching the Collision and Comprehensive Coverages of the Policy based on both
    the face of the Policy and the Policy as amended to conform to § 626.9743. And, her request
    for a declaration that Safeco breaches the Policy by taking the salvage values of its insureds’
    total loss vehicles does not rely even in part upon Safeco’s violation of § 626.9743.
               Second, even if Safeco had accurately described Signor’s allegations, a plaintiff may
    seek a declaratory judgment that a defendant is violating a statute that does not provide a
    private cause of action for its violation. See Fed. R. Civ. P. 57, n. 1937 (“statutes, may be
    construed before or after breach at the [declaratory judgment] petition of a properly interested
    party…”).
    A.         Signor properly seeks a declaration as to the coverage of and Safeco’s breach of the
               Policy.

               Signor does not ask for a declaration that Safeco violates § 626.9743 independent of
    its effect on the Policy. Rather, she pleads that Safeco breaches the Comprehensive and
    Collision coverages of the Policy on its face and as amended to conform to § 626.9743 by its
    use of the CCC system to adjust total loss claims and its refusal to pay dealer fees. 3 Complaint
    ¶¶ 1-4 (at pages 1-2), 9 (at pages 5-6), 15 (at page 8), 13-17 (at pages 7-9), 26 (at page 12),
    13(a) & (b) (at page 18) & 24 (at page 22). In particular, Signor’s pleading that Safeco’s use
    of the CCC system breaches the Policy because it uses the Uniform Condition Adjustments,
    which causes it to calculate values less than the “Actual Cash Value” the Policy requires Safeco
    to pay, does not require incorporation of any part of § 626.9743 into the Policy. Complaint ¶¶
    13-17 (at pages 7-9) & 24 (at page 22). Likewise, Signor’s pleading that Safeco must pay
    dealer fees as part of the “Actual Cash Value” the Policy requires it to pay on total losses does
    not require incorporation into the Policy of any part of § 626.9743. Complaint ¶¶ 26 (at page
    12) & 24 (at page 22). Further, Signor pleads that Safeco breaches the Policy by taking its
    insureds’ total loss vehicles as a condition to paying them the actual cash value of their total




    3
      Signor will address below Safeco’s assertion that certain parts of § 626.9743 are not
    incorporated into the Policy.

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    loss vehicles without any incorporation of § 626.9743. Complaint ¶¶ 5 (at page 2), 27 (at pages
    12-13), 28 (at page 13), 13(h) & (i) (at pages 18-19), & 49-50 (at pages 26-27).
            This means two things. First, Signor’s pleading for a declaratory judgment based on
    the face of the Policy does not fall within Safeco’s argument that she is just asserting a
    disguised claim for violation of a part of UITPA. Second, because Signor seeks only a
    declaration that Safeco breaches the Policy, it does not matter if the lack of a private cause of
    action for violation of § 626.9743 would prevent her from seeking a declaration that Safeco
    had violated it (it does not, as explained below). As set forth above, courts routinely hear
    declaratory judgment actions regarding insurers’ liability under and the coverage of insurance
    policies. See also, e.g., Allstate Ins. Co. v Vizcay, 2011 WL 5870016, at *3 (M.D. Fla. Nov.
    22, 2011); Nationwide Mut. Co. v. Ft. Myers Rehab. Center, Inc., 657 F. Supp. 2d 1279, 1291-
    93 (M.D. Fla. 2009); Higgins v. State Farm Fire & Cas. Co., 894 So. 2d 5, 9 (Fla. 2005)
    (“…Florida’s declaratory judgements statute authorizes declaratory judgments as to insurance
    policy obligations to defend and coverage for indemnity [even] when it is necessary to decide
    issues of fact in order to determine the declaratory judgment.”).
            Perhaps anticipating this second argument, Safeco cites (Motion at 6) Keehn v.
    Carolina Cas. Ins. Co., 758 F.2d 1522 (11th Cir. 1985), in which the court held “[i]n sum,
    therefore, the UITPA affords plaintiffs no cause of action, either by its own terms or
    incorporation into the contract of insurance, to vitiate Carolina Casualty’s otherwise valid
    cancellation.” Id. at 1525. The Court should not find Keehn applicable to Signor’s declaratory
    judgment cause of action, because it addressed only a breach of contract claim. Id. at 1524.
            The critical nature of that distinction is made clear by the 11th Circuit’s later decision
    in State Farm Fire & Cas. Co. v. Silver Star Health & Rehab, 739 F.3d 579, 583 (11th Cir.
    2013). In that case, the court held that even though the Florida Health Care Clinic Act did not
    provide for a private right of action, State Farm could seek a declaratory judgment that because
    Silver Star had operated in violation of the statute, all its charges were illegal and did not have
    to be paid. Id. As the Court stated, “…it would make no sense to read into a statute a provision
    that courts lack the authority to decide the crucial question on which the lawfulness,
    compensability, and enforceability of a claim depends…” Id. Likewise, it would make no sense
    for this Court not to have the authority to determine whether § 626.9743 as incorporated into


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    the Policy allows Safeco to use the CCC system and to refuse to pay dealer fees
    notwithstanding that Signor cannot recover damages based solely on Safeco’s violation of the
    statute.
               Further, an additional holding in Silver Star impliedly overruled Keehn’s holding that
    breach of contract cannot be predicated on non-compliance with provisions of UITPA
    incorporated into a policy. Specifically, the 11th Circuit held that the illegality of the charges
    would support a common law unjust enrichment claim to recover what it had paid despite State
    Farm not having the right to recover those amounts based directly on Silver Star’s violation of
    the Act. Id. at 584. By the same reasoning, Signor should be able to bring a breach of contract
    cause of action for Safeco’s breach of the provisions of § 626.9743 incorporated into the Policy
    despite not having the right to recover directly for Safeco’s statutory violations.
               Keehn’s holding also no longer constitutes valid, binding law because of a subsequent
    statement of Florida law by the Florida Supreme Court. Salinas v. Ramsey, 881 F.3d 876, 877
    n.2 (11th Cir. 2018) (when “the Florida Supreme Court’s decision undermines our
    interpretation of Florida law in [a prior decision], it is no longer binding in this Circuit.”). In
    the absence of any Florida Supreme Court authority, the Keehn court relied upon court of
    appeals decisions as of the date of its decision in 1985. 758 F.2d at 1524. Subsequently, in the
    context of Florida’s HMO Act, which does not authorize a private cause of action, and directly
    contrary to the holding in Keehn, the Florida Supreme Court held that “given the significant
    statutory regulation surrounding HMO contracts and the integral role the ‘prompt pay
    provisions’ play into them, section 641.3155 may be incorporated into the HMO contract” and
    that those provisions “may be incorporated into an HMO contract for the purpose of
    establishing a breach of contract cause of action….” Foundation Health v. Westside EKG
    Assoc., 944 So. 2d 188, 194 (Fla. 2006). Notably, the Florida Supreme Court held the HMO
    policy incorporated only the “prompt pay provisions” of the HMO Act and not the entire statute
    and its lack of a private right of action as the Keehn court stated would be the case in rendering
    its erroneous interpretation of Florida law. See 758 F.2d at 1524-25.
               The death of Keehn is best illustrated by two 2019 cases. Richardson v. Progressive
    American Ins. Co., rejected the argument that a breach of contract cause of action based on
    incorporation into an insurance policy of the exact same statute in issue in this case, §


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    626.9743(5)(a), constituted a disguised claim for violation of UITPA (which does not provide
    a private right of action). 2019 WL 2287955, at *5 (M.D. Fla. May 29, 2019). Likewise, Glover
    v. Liberty Ins. Co. held that an insurance policy incorporated § 626.9743(5)(a) for purposes of
    a breach of contract claim. 2019 WL 4917063, at *4 (S.D. Fla. Oct. 4, 2019).
    B.      Signor could seek a declaration that Safeco is violating § 626.9743 independent of its
            incorporation into the Policy even though UITPA provides no private right of action
            for its violation.

            In a case governed by the Florida Declaratory Judgments Act, Chapter 87 of the Florida
    Statutes, the 4th DCA held that:
            While we agree with the trial court that nothing in the relevant statutes
            indicates the legislature intended to create a private right of action for an
            insured to enforce compliance with an insurer’s violation of sections
            627.6515, 627.6571 or 627.6675, we believe these statutory provisions
            could form the basis for a breach of contract cause of action by an insured
            if properly pled and supported by evidence.

    Lutz v. Protective Life Ins. Co., 951 So. 2d 884, 887 (4th DCA 2007) (citing Foundation Health,
    944 So. 2d at 195). Critically, after having held that the plaintiff had failed to plead violations
    of those incorporated statutory provisions (and thus having failed to plead breach of contract),
    the court went on to hold that the plaintiff could still pursue a declaratory judgment regarding
    whether those provisions applied to the defendant. Id. Simply put, regardless of whether
    statutory insurance provisions provide a private right of action for their violation or
    enforcement, they can provide a basis for both declaratory judgment (under Chapter 87) and
    breach of contract causes of action.
            The same holds true under the Federal Declaratory Judgments Act, 28 U.S.C. §§ 2201
    & 2202. A federal district court held that even though Texas Insurance Code art. 21.52B did
    not provide a private right of action, the plaintiff could nevertheless seek “a declaration of the
    meaning of article 21.52B and that Prudential’s conduct is in violation of the statute.” Texas
    Pharmacy Ass’n v. Prudential Ins. Co. of America, 907 F. Supp. 1019, 1023 (W.D. Tex 1995).
    Again, regardless of whether UIPA provides a private right of action, Signor has the right to
    seek a declaratory judgment of the meaning of § 626.9743 and that Safeco is violating it.




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               III.     The Portions of Signor’s Counts II and III for Breach of Contract by
                        Safeco’s Use of the CCC System and Its Refusal to Pay Dealer Fees Based
                        on Safeco’s Non-Compliance with § 626.9743(a) Are Legally Viable. 4

               Safeco claims that the Policy does not incorporate § 626.9743(5). Motion at 7-10.
    However, “[i]nsurance policies are deemed by law to incorporate applicable statutes.” MRI
    Associates of St. Pete, Inc. v. State Farm Mut. Auto. Ins. Co., 755 F. Supp. 2d 1205, 1210
    (M.D. Fla. 2010): see also Lutz, 951 So. 2d at 887 (quoted above). “[P]rovisions in an insurance
    policy must be construed and applied to be in full compliance with the Florida Statutes.”
    Trinidad v. Florida Peninsula Ins. Co., 121 So. 3d 433, 441 (Fla. 2013); see also, Allstate Ins.
    Co. v. Kaklamanos, 843 So. 2d 885, 896 (Fla. 2003). Critically, this rule has been followed
    without regard to whether those statutes use mandatory or permissive language. See id.
               Based on one federal district court case and the three Florida decisions upon which that
    case relies, Safeco argues that this long-standing Florida law has now been changed such that
    only statutory provisions that use the mandatory language “shall” and not the permissive
    language “may” can be incorporated into insurance policies. Motion at 7-10. Based on that, it
    argues that the methods for calculating cash settlements set forth in § 626.9743(5)(a), which
    Signor pleads was incorporated into the Policy and breached by Safeco, are not incorporated
    into the Policy because the statute says, “Such cost may be derived from:” and then lists the
    methods of calculation. Id.
               Safeco and the case it primarily relies upon, Bastian v. United Services Auto. Ass’n.,
    150 F. Supp. 3d 1284, 1294-96 (M.D. Fla. 2015), vastly overstate the holdings of Geico Gen.
    Ins. Co. v. Virtual Imaging Servs., 141 So. 3d 147, 157 (Fla. 2013), Kingsway Amigo Ins. Co.
    v. Ocean Health, Inc., 63 So. 3d 63, 67 (Fla. 4th DCA 2011), and State Farm Fla. Ins. Co. v.
    Nichols, 21 So. 3d 904 (Fla. 5th DCA 2009). Those cases did not purport to change Florida
    law regarding the incorporation into insurance policies of statutory provisions; rather, they
    merely held that where an insurer has provided in the insurance policy a legally permissible
    method for calculating the amount of claims or a legally permissible time for paying claims, it

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      As noted previously, all of Signor’s claims rest in part or in whole on the face of the Policy,
    so this argument could not justify dismissal of any of her claims in their entirety. In particular,
    Count IV for breach of contract by Safeco taking salvage values rests entirely on the face of
    the Policy without regard to § 626.9743(5).

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    cannot use another statutorily optional (not required) method of calculation or time for
    payment. Simply put, an insurer cannot provide a legally permissible provision in its policy
    and then argue it gets to use a statutory provision more favorable to it where the statute does
    not make it mandatory that a policy of that type use the more favorable provision.
            In both Virtual Imaging and Kingsway, the PIP statute set forth two permissible options
    for insurers to calculate benefits, 80% of reasonable expenses for medically necessary medical
    services or 200% of the allowable amount under Medicare, and the insurers put the 80%
    method in their policies and then tried to argue that, notwithstanding the language of their
    policies, they could use the Medicare method. 141 So. 3d at 152-158; 63 So. 3d 64-66. In both
    cases, the courts merely held that where the insurer had expressly stated one statutorily
    permissible option in its policy, it could not claim that the policy conflicted with the other
    statutorily permissible option, such that the other permissible (not required) option was
    incorporated into the policy in place of the expressly stated option. 141 So. 3d at 158-159; 63
    So. 3d at 66-68.
            As the 4th DCA explained in Kingsway, its holding is consistent with the long-standing
    Florida rule that “when the insurance policy provides greater coverage than the amount
    required by the statute, the terms of the policy will control.” 63 So. 3d at 68. In Virtual Imaging,
    the Florida Supreme Court concluded by stating that it “adopt[ed] the reasoning of the Fourth
    District in Kingsway….” 141. So. 3d at 160. Certainly, neither court held that an insurance
    code provision which uses the word “may” can never be incorporated into an insurance policy.
            In the third Florida case relied upon by Safeco and Bastian, the insurance policy
    provided that the loss would be payable within 60 days after State Farm received proof of loss
    and an appraisal award was filed with it, but State Farm argued that a statute allowed it to
    withhold payment until the insured had contracted for the repairs. Nichols, 21 So. 3d at 904-5.
    The 5th DCA held that because the language of this statute was permissive, it did not conflict
    with the policy, and the more favorable terms of the policy controlled. Id. at 65. That court did
    not purport to hold that an insurance code provision which uses the word “may” can never be
    incorporated into an insurance policy. In fact, that court did not discuss incorporation at all.
            In Bastian, therefore, the court went too far in seemingly adopting the plaintiffs’
    argument in that case that permissive statutory language is never incorporated into a policy


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    unless done so expressly. 150 F. Supp. 3d at 164-165. The three cases it relied upon, as just
    explained, hold nothing of the sort. Certainly, the court had no need to so hold, because the
    situation it faced was exactly the same as that faced by the court in Nichols.
               In Bastian, in connection with total loss claims like Signor’s, the court correctly held
    that the auto policy’s provision requiring USAA to pay the “actual cash value” of the total loss
    vehicle required it to pay the replacement cost of the total loss vehicle and that the replacement
    cost included not just the purchase price of the car but all costs necessary to the replacement
    of the vehicle, including sales tax. 5 150 F. Supp. 3d at 1288-91. This is without regard to
    whether the insured has purchased a replacement vehicle and incurred sales tax, because the
    policy contained no provision requiring the insured to replace the insured vehicle in order to
    receive its actual cash value if it is was totaled. Id. at 1291. So, the court was holding that sales
    tax had to be paid at the same time and as part of the cash payment for the value of the total
    loss vehicle. Id.
               USAA responded that Fla. Stat. § 626.9743(9) provides that “the insurer may defer
    payment of the sales tax unless and until the obligation has actually been incurred” and that it
    should be deemed incorporated into the policy. Id. at 1293. Just like in Nichols, the court
    merely needed to hold that because that language is permissive it did not conflict with the
    policy and the policy language controlled, consistent with the long-standing Florida rule that
    a policy may be more generous than the law requires. It had no need to hold incorrectly that
    whether a statutory provision uses “may” or “shall” always determines whether it will be
    incorporated into an insurance policy.
               Although this case and Bastian both involve § 626.9743, the incorporation arguments
    are vastly different as to both Signor’s claim that Safeco’s use of the CCC system does not
    comply with § 626.9743(5)(a) and her claim that Safeco’s refusal to pay dealer fees likewise
    does not comply with it. As to the first, while the Policy does provide that Safeco must pay
    Signor the actual cash value of her vehicle, it provides no methods that Safeco will use to
    calculate it. § 626.9743(5)(a)(1), (2) and (3) do provide such methods and they fill the vacuum
    in the Policy by incorporation pursuant to the rule that insurance policies are deemed to


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        That is the exact same argument that Signor will be making regarding dealer fees.


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    incorporate applicable statues and must be construed as in full compliance with applicable
    statutes. Glover, 2019 WL 4917063, at *4 (“[T]he statutory method for determining ACV
    described in section 626.9734(5) serves to furnish a definition of the undefined ACV in the
    Insurance Policy and describes what items are included in ACV.”). Once incorporated, non-
    compliance with those methods by Safeco constitutes a breach of the policy. Id., at 7-8. This
    stands in stark contrast with Bastian where USAA did not seek to fill a vacuum in its policy
    with § 626.9743(9), but rather to use it to replace a less favorable provision it had written into
    its policy.
            Further, by using the CCC system, an electronic database, Safeco is obviously trying
    to comply with § 626.9743(5)(a)(1)(a), which allows calculation of a cash settlement by an
    “electronic database” if it is “a generally recognized used motor vehicle industry source.”
    Complaint ¶¶ 1 & 2 (at pages 1-2). Signor alleges that the CCC system does not comply with
    the statute, in part because it is not “a generally recognized used motor vehicle industry
    source.” Complaint ¶3 (at page 2). It makes little sense that Safeco could use an electronic
    database that is not “a generally recognized used motor vehicle industry source” just because
    § 626.9743(5)(a) says that a generally recognized electronic database “may” be used rather
    than “shall’ be used. The Legislature could not have intended that Safeco can use a method
    that it obviously found insufficient—an electronic database that is not generally recognized in
    the used motor vehicle industry.
            Finally, as Signor pointed out above, two other courts, including another court in the
    Southern District of Florida, did not follow Bastian and implicitly rejected Safeco’ argument
    in cases where the plaintiff attacked an electronic database much like the CCC system as not
    complying with § 626.9743(5)(a). Specifically, they held that § 626.9743(5)(a), in its entirety,
    was incorporated into the auto policy. Glover, 2019 WL 4917063, at *4; Richardson, 2019
    WL 2287955, at *2 & *5.
            Safeco tries, to no avail, to distinguish Richardson on the basis that the court based the
    incorporation on a policy provision providing that to the extent any terms of the policy
    conflicted with Florida law, the provisions would be amended to conform to the law, while its
    Policy contains no such provision. Motion at 10. Safeco ignores that Florida common law
    already provides for the exact same thing, as discussed above, and further that Florida has


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    mandated the exact same thing by statute: “[a]ny insurance policy… which contains any
    condition or provision not in compliance with the requirements of this code… shall be
    construed and applied in accordance with such conditions and provisions as would have
    applied had such policy… been in full compliance with this code. 6 Fla. Stat. § 627.418(1).
    Further, the court in Glover relied solely upon Florida common law; it made no mention of
    any policy provision providing for incorporation. Glover, 2019 WL 4917063, at *4.
               As to Signor’s claim for dealer fees, she relies upon the language at the beginning of §
    626.9743(5)(a) that “[t]he insurer may elect a cash settlement based upon the actual cost to
    purchase a comparable motor vehicle”, arguing that the actual cost includes dealer fees.
    Complaint ¶ 4 (at page 2). Crucially, both Bastian (150 F. Supp. 3d at 1295) and Safeco
    (Motion at 9) agree that this portion of § 626.9743(5)(a) is mandatory and incorporated into
    the Policy.
               IV.      Count II for Breach of Contract by Geico’s Use of the CCC System
                        Sufficiently Alleges Safeco Breached § 626.9743(5). 7

    A.         § 626.9743(5)(a)(1)
               The Complaint expressly alleges that Safeco’s use of the CCC System does not comply
    with § 626.9743(5)(a)(1), and that ought to end the matter. Complaint ¶ 20 (at page 10).
    Nevertheless, according to Safeco’s Motion at 11, because the Complaint pleads and the CCC
    Report shows that the CCC System calculated Signor’s payment using the advertised prices
    of twelve “comparable motor vehicles,” the Complaint supposedly does not plausibly allege
    that the CCC System did not comply with § 626.9743(5)(a)(1). That section allows the actual
    cost of a comparable motor vehicle to be derived as follows: “[w]hen comparable motor
    vehicles are available in the local market area, the cost of two or more such comparable motor
    vehicles available within the preceding 90 days.” Fla. Stat. § 626.9743(5)(a)(1) (emphasis
    added). Safeco’s argument fails for three reasons.
               First, sections (1), (2) and (3) of § 626.9743(5)(a) “are separate alternatives separated
    by ‘or,’ which indicates that they are mutually exclusive alternatives.” Fla. Pulp & Paper

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      “Code” refers to the insurance portion of Florida’s Statutes, Chapters 624-651, which
    includes the UITPA, Chapter 626.
    7
      Again, Count II also alleges breach by Geico of the face of the Policy, which is not subject
    to Geico’s argument (Motion at 10-12).

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    Ass’n. Enviro. Affairs, Inc. v. Dept. of Enviro. Protection, 223 So.3d 417, 420 (Fla. Dist. Ct.
    App. 2017). This means that the CCC System can only comply with one of those sections, not
    three of them as Safeco claims. See Kaufman v. Mut. of Omaha Ins. Co., 681 So. 2d 747, 749
    (Fla. Dist. Ct App. 1996) (holding where Insurance Code required insurer to choose one of two
    statutory alternatives, it could choose one or the other, but not both). Further, it means that
    having purported to comply with § 626.9743(5)(a)(2)(a), Safeco cannot claim it complied with
    § 626.9743(5)(a)(1).
            Second, § 626.9743(5)(a)(1) requires use of “the cost of two or more such comparable
    motor vehicles available within the preceding 90 days.” The CCC System determines the value
    of a total loss vehicle based on advertised prices not sales prices. The plain meaning of “cost”
    as used in § 626.9743(5)(a)(1) requires use of sales prices. “Cost” means “the amount of money
    needed to buy, do, or make something, or an amount spent for something.” Cambridge English
    Dictionary, https://dictionary.cambridge.org/us/dictionary/english/cost. As anyone who has
    ever purchased a used car knows, the amount of money needed to buy a used car from a dealer
    is virtually never the same as the advertised price for a variety of reasons: additional
    undisclosed     costs    or    fees,   non-qualifying       rebates,   negotiations   and/or   outright
    misrepresentations in advertisements. Thus, one can only determine the “cost” of comparable
    vehicles from their actual sales prices.
            Other statutory language confirms this. Section 626.9743(5)(a)(1) requires the “cost”
    to be based on “vehicles available within the preceding 90 days.” That implies “cost” is based
    on something that occurred in the past--sales. If “cost” meant advertised prices, presumably
    the Legislature would have said “cost” based on “vehicles available at the time or within the
    preceding 90 days.” Further, § 626.9743(5)(a)(1) is supposed to be a method of deriving the
    “actual cost to purchase a comparable motor vehicle,” and advertised prices cannot provide an
    “actual cost.” Fla. Stat. § § 626.9743(5)(a).
            Safeco argues that it defies common sense to require actual sales data because
    consumers negotiate the price of advertised vehicles down, not up. Motion at 11. This ignores
    that the factors described above can easily and often do more than offset any downward price
    negotiation, such that consumers can and often do pay more for cars than their advertised prices
    despite “successful” negotiation. It also ignores that the Legislature chose to specify “costs’


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    and that choice must be honored even if Safeco contends specifying “advertised prices” would
    have been more consumer friendly.
            Third, even if the advertised prices of comparable vehicles used by the CCC System
    could constitute their “costs,” Safeco does not actually use them. Rather, it uses the advertised
    prices reduced by its arbitrary “Uniform Condition Adjustments.” The meaning of “cost”
    cannot conceivably be stretched to encompass that practice. In short, not only does the
    Complaint both alleges that Safeco’s use of the CCC System does not comply with §
    626.9743(5)(a)(1), it demonstrates that the CCC System does not comply with it as a matter of
    law.
    B.      § 626.9743(5)(a)(2)(a)
            The Complaint expressly pleads that the CCC System does not comply with §
    626.9743(5)(a)(2)(a) because it is not “a generally recognized used motor vehicle industry
    source.” Complaint ¶ 19 (at page 10). Safeco claims that Signor fails to allege why this is so.
    Motion at 11. Safeco simply ignores that the Complaint goes on to plead why the CCC System
    is not such a source: because it is not available to consumers and not marketed to the motor
    vehicle industry as a whole, but rather is offered only as a subscription service to insurance
    companies, which are not part of the used motor vehicle industry and which are virtually the
    only entities that use it. Id.
            While Signor did so plead, as just demonstrated, Safeco incorrectly assumes that Signor
    had to plead a reason why the CCC System does not constitute a generally accepted used motor
    vehicle industry source, but two courts have held that Federal pleading requirements do not
    require such detail. Prudhome v. Geico Ins. Co., 2015 WL 2345420, at *4 (W.D. La. May 14,
    2015) (holding that just alleging that CCC System was not a generally accepted used motor
    vehicle industry source without any explanation of why was sufficient); Slade v. Progressive
    Sec. Ins. Co., 2013 WL 12182957, at *7 (W.D. La. Feb. 4, 2013) (holding just alleging similar
    electronic database was not a generally accepted used motor vehicle industry source without
    any explanation of why was sufficient).
    C.      § 626.9743(5)(a)(3)
            Signor alleges that the CCC system is not designed to and does not comply with Fla. Stat.
    § 626.9743(5)(a)(3). Complaint ¶ 21 (at page 11). It allows calculation of the actual cost to purchase



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    a comparable motor vehicle by “using two or more quotations obtained by the insurer from two or
    more licensed dealers in the local market area.” Fla Stat. § 626.9743(5)(a)(3). The CCC system
    does not, however, obtain “quotes” from dealers—the actual prices for which they commit to sell
    the          cars.          Id.           See           Oxford        Cambridge       Dictionary,
    https://dictionary.cambridge.org/us/dictionary/english/quote (quote means “to tell a customer
    how much a job, service, or product will cost”). Rather, it takes advertised prices and makes
    illegitimate “Uniform Condition Adjustments” to those advertised prices.
            V.       Count II for Breach of Contract by Safeco’s Use of the CCC System
                     Sufficiently Alleges that Safeco Does Not Comply with § 626.9743(6) as
                     Incorporated into the Policy.

            Signor pleads that Safeco does not comply with 626.9743(6). Complaint ¶ 32 (at page
    12). Section 626.9743(6) provides, in pertinent part, that:
            When the amount offered in settlement reflects a reduction by the insurer
            because of betterment or depreciation, information pertaining to the reduction
            shall be maintained with the insurer’s claim file. Deductions shall be itemized
            and specific as to dollar amount and shall accurately reflect the value assigned
            to the betterment or depreciation.

    Fla. Stat. § 626.9743(6).

            The Court should reject Safeco’s contention that the CCC Report shows it complies

    with § 626.9743(6) because it shows the amount of the Uniform Condition Adjustment applied

    to each comparable vehicle. Motion at 12-13. This ignores that § 626.9743(6) requires Safeco

    to maintain in its files not just itemized deductions for depreciation in specific amounts but

    ones that “accurately reflect the value assigned to the…depreciation.” Signor pleads that the

    Uniform Condition Adjustments are not valid at all and certainly do not accurately reflect

    depreciation of the total loss vehicles. Complaint ¶¶ 23-24 (at pages 8-9). Safeco’s detailing

    of the CCC Report’s description of the condition adjustments to the total loss vehicle (Motion

    at 13) is simply irrelevant, because the “Uniform Condition Adjustments” are the uniform price

    reductions to the comparable vehicles, which are not described at all.



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            VI.      Count III States a Cause of Action for Safeco’s Breach of its Policy by
                     Failing to Pay Dealer Fees.

    A.      On its face, the Policy requires Safeco to pay dealer fees.

            Safeco argues nothing in the Policy requires it to pay dealer fees. Motion at 14.
    However, the Policy provides coverage for “direct and accidental loss to your covered auto”
    and it makes its maximum liability for a total loss “the actual cash value of the stolen or
    damaged property” Complaint ¶8. Florida common law defines “actual cash value” to mean
    “replacement cost minus depreciation.” Sos v. State Farm Mut. Auto. Ins Co, 2019 WL
    3940227, at * 3 (M.D. Fla. Mar. 13, 2019) (auto policy); Trinidad, 121 So. 3d at 438. Since
    the Policy does not specifically mention dealer fees, the issue becomes whether Florida law
    would interpret the replacement cost of an auto to include dealer fees. It would.
            In Roth v. Geico Gen. Ins. Co., the court addressed whether an actual cash value auto
    policy provided coverage for sales tax and title fees, and it held that:
            The term “actual cash value” (hereinafter, sometimes abbreviated by the Court
            as “ACV”) is defined in the Policy as “the replacement cost of the auto or
            property less depreciation or betterment.” … [N]othing in the Policy requires
            a[n] insured to replace their total loss vehicle with… any vehicle at all.
            Plaintiff asserts that sales tax and title transfer fees are mandatory, necessarily
            included in the replacement costs of a total loss vehicle, and therefore are
            components of actual cash value under the Policy. The Court agrees. Sales tax
            and title transfer fees are mandatory fees imposed by Florida law on the
            replacement of all vehicles. See Fla. Stat. § 212.05 (sales tax); § 319.34 (title
            transfer fee). Further, settled law in the Eleventh Circuit, applying Florida law,
            is that when an insurer provides an actual cash value insurance policy covering
            the cost to repair or replace damaged insured property, it must pay all of the
            costs that are included in the cost of replacement or repair of the property. See
            Mills v. Foremost Ins. Co., 511 F.3d 1300, 1305 (11th Cir. 2008) (“[T]axes are
            not unambiguously excluded from actual cash value coverage ... [p]art of ‘the
            cost’ of new materials is the taxes paid to purchase those materials”).


    2018 WL 3412852, at *3-4 (S.D. Fla. June 14, 2018). See also Sullivan v. Gov’t Employees
    Ins. Co., 2018 WL 3650114, at *5-6 (M.D. Fla. April 6, 2018) (denying Geico’s motion to
    dismiss a claim for breach of an auto policy based on Geico’s failure to pay title/license fees).




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               In Bastian, 150 F. Supp. at 1289, as discussed above, the court held an auto policy with
    a virtually identical definition of “actual cash value” 8 required “payment of sales tax in the
    amount that would be due on the purchase of a vehicle of comparable value to the covered
    vehicle at the time of loss” and “regardless of whether they [the plaintiffs] actually decide to
    purchase one [ comparable vehicle].” Like the Roth court, the Bastian court cited the Eleventh
    Circuit’s Mills decision in support. Id. at 1290.
               And, it is Mills that makes clear that dealer fees fall under “replacement cost” even
    though Florida law does not mandate their payment like sales tax and title/license fees. In the
    context of a mobile home insurance policy that defined actual cash value to mean replacement
    cost, the Eleventh Circuit held that replacement cost included not only sales tax but also the
    contractor overhead and profit the policyholder could reasonably be expected to incur. 511
    F.3d at 1305-06. Dealer fees are no different than contractor overhead and profit, and Signor
    pleads that policyholders can reasonably expect to incur them because they are charged by
    every used car dealer in Florida. Complaint ¶ 34 (at page 12).
               In the face of the overwhelming Florida authority that its actual cash value/replacement
    cost policy requires payment of dealer fees, Safeco provides no contrary case law.
    B.         § 626.9743(5)(a) is incorporated into the Policy and requires Safeco to pay dealer
               fees.
               Section 626.9743(5)(a) provides that a cash settlement on a total loss must pay “the
    actual cost to purchase a comparable motor vehicle, including sales tax….” The plain meaning
    of “actual cost to purchase” is the same as “replacement cost”—everything a policyholder
    could reasonably expect to have to pay to purchase a comparable vehicle, which would include
    sale tax, title/license fees and dealer fees.
               The Legislature made clear it intended exactly that by adding “including sales tax.”
    “Including” means “in addition to, not to the exclusion of” or put another way, “including”
    “connotes an illustrative application of the general principle.” Pro-Art Dental Lag, Inc. v. V-
    Strategic Group, LLC, 986 So. 2d 1244, 1256 (Fla. 2008) (quoting in part Fed. Land Bank of.
    St. Paul v. Bismarck Lumber Co., 314 U.S. 95, 100 (1941)). So, sales tax constitutes just an


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     “Actual cash value means the amount it would cost, at the time of loss, to buy a comparable
    vehicle.” Id. at 1289.

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    example of part of the “actual cost of purchase” which cannot be differentiated from
    title/license fees and dealer fees.
    C.      Dealer Fees Are Not Illegal
            Safeco misleadingly claims that a statue and administrative code provision regulating
    auto dealers declare dealer fees illegal. Motion at 14. Safeco starts by selectively quoting from
    Fla. Stat. § 501.976(11) which states in full that dealers may not:
            (11) Add to the cash price of a vehicle as defined in s. 520.02(2) any fee or
            charge other than those provided in that section and in rule 69V-50.001,
            Florida Administrative Code. All fees or charges permitted to be added
            to the cash price by rule 69V-50.001, Florida Administrative Code,
            must be fully disclosed to customers in all binding contracts concerning
            the vehicle’s selling price. (emphasis added to portions of this sub-section
            that Safeco did not cite).

    Safeco then cites to Fla. Admin. Code § 69V-50.001 and its list of permissible charges which
    does not include dealer fees and argues their exclusion means they are illegal. Motion at 14.
            Safeco conveniently ignores the opening language of § 69V-50.001 which states
    “Other than the items and charges properly included as part of the cash price as defined
    in section 520.02(2), F.S., the following are the only charges permitted to be made by the retail
    installment seller….” (emphasis added). Fla. Stat. § 520.02(2) provides:
            (2) “Cash price” means the price at which a seller, in the ordinary course of
            business, offers to sell for cash the property or service that is the subject of
            the transaction. At the seller’s option, the term “cash price” may include
            the price of accessories, services related to the sale, service contracts, and
            taxes and fees for license, title, and registration of the motor vehicle. The
            term “cash price” does not include any finance charge. (emphasis added).

    So, by incorporation, Fla. Stat. § 501.976(11) and Fla. Admin. Code § 69V-50.001 not only do
    not make illegal dealer fees (the price of services related to the sale), they specifically authorize
    their inclusion in the cash price of a car.
            The Legislature’s passage of Fla. Stat. § 501.976(16) & (18) confirms the legality of
    dealer fees. They regulate the disclosure in advertisement and retail installment contracts of
    “dealer preparation charges” and “…charge[s] represent[ing] costs and profit to the dealer for
    items such as inspecting, cleaning, and adjusting vehicles, and preparing documents related to
    the sale” (i.e., the “dealer fees” exactly as pled in the Complaint ¶ 4 at page 2). Certainly, the


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    Legislature would not have bothered to regulate the advertisement and disclosure of illegal
    fees.
            VII.     Count IV States a Cause of Action for Safeco’s Breach of the Policy by
                     Requiring Total Loss Policyholders to Transfer Title to Their Total Loss
                     Vehicles in Return for Payment of Their Total Loss claims or By Deducting
                     the Salvage Values from the Total Loss Payments.

            Signor and Safeco agree that Safeco must pay total loss policyholders the actual cash
    values of their total loss vehicles, whatever that may be. Signor alleges Safeco cannot condition
    such payments on policyholders transferring title to Safeco of their total loss vehicles without
    the Policy expressly stating this condition, which it does not. Complaint ¶¶ 27-28 (at pages 12-
    13). Safeco absurdly tries to turn the tables by arguing that Signor points out no provision of
    the Policy that allows policyholders to receive actual cash value for total loss vehicles and keep
    title to them. Motion at 14-15. This argument fails for two reasons.
            First, as set forth above, the Comprehensive and Collision coverages of the Policy
    contain unconditional promises to pay for “loss” to covered vehicles, which means paying
    actual cash value (replacement cost less depreciation) on total losses. Nothing in the Policy
    requires insureds to give up ownership of the total loss vehicles to receive their actual cash
    value payments. Likewise, nothing in the Policy defines actual cash value to mean replacement
    cost less depreciation less salvage value. So, the Policy does expressly allow insureds to
    receive actual cash value payments without giving up ownership of the total loss vehicles.
            Second, even if the Policy were silent on this issue, Florida law places the burden upon
    Safeco in the Policy to expressly state any condition that policyholders must give their property
    to Safeco in exchange for payment of covered losses. See Fla. Stat. § 627.413(1) (requiring
    insurance policy to “specify” risks insured against and “any conditions” applying to that
    coverage); Berkshire Life Ins. Co. v. Adelberg, 698 So. 2d 828, 830 (Fla. 1997) (holding
    insurance policy must provide insureds with clear and specific explanation of its terms).
    Indeed, this Court has ruled that a salvage claim like Signor’s presents a “monumental
    coverage question” to be interpreted under the Policy, which is an integrated contract whose
    text is to be understood by its “plain meaning” to the “average person.” Lopez v. Progressive
    Select Ins. Co., 2019 WL 4731644, at *2-3 (S.D. Fla. May 14, 2019).



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            At a minimum, the Policy’s silence on this point renders it ambiguous, and the Court
    must construe such ambiguity in Signor’s favor. Penzer v. Transp. Ins. Co., 29 So. 3d 1000,
    1005 (Fla. 2010). Certainly, such ambiguity makes dismissal at the pleading stage improper.
    See Bloomgarden v. Allstate Fire & Cas. Ins. Co., 2019 WL 5209015 (S.D. Fla. Aug. 6, 2019)
    (rejecting magistrate’s dismissal of salvage claim like plaintiff’s because court could not
    “resolve ambiguities in [the insurance] contract at the motion to dismiss stage.”); accord
    Larach v. Standard Chartered Bank Int'l (Americas) Ltd., 724 F.Supp.2d 1228, 1239 (S.D. Fla.
    2010) (denying motion to dismiss the differing interpretations of the contract were not yet ripe
    for ruling).
            Under similar circumstances, courts have agreed that an insurer can breach a policy by
    imposing a condition not found on the face of a policy. In Bastian, 150 F. Supp. 3d at 1295,
    the insurer required insureds to purchase a replacement vehicle in order to receive payment of
    sales tax on a total loss, and the court granted summary judgment to the insured that the
    insurer had breached the policy stating that if it wished to impose such condition, “it must
    expressly elicit this option in its policies so as to provide its insureds with due notice.”
    Similarly, in Roth, 2018 WL 3412852, at *3-4, the court granted summary judgment to the
    insured that the insurer breached the policy by imposing a condition found nowhere on the
    face of the policy: that it would only pay sales tax on owned, not leased, vehicles.
            In the face of this Florida law making it a breach to impose a condition not found on
    the face of a policy, Safeco resorts to a general insurance policy principle, claiming Signor by
    receiving the actual cash value (replacement cost less depreciation) and retaining salvage value
    of her totaled vehicle would receive a “prohibited double-recovery.” Motion at 15. Initially,
    “double-recovery” refers to an insured receiving two payments, not receiving one payment and
    retaining its own property. Further, Safeco does not cite any case law supporting that “actual
    cash value” includes the post-loss (salvage) value of her totaled vehicle. To the contrary, “[i]n
    the appraisal and insurance industries, the term “actual cash value” is often used to describe
    the pre-loss value of certain property…” Goff v. State Farm FL, 999 So. 2d 684 n. 6 (Fla. 2d
    DCA 2009) (emphasis added).
            In any case, as Safeco drafted its Policy, it “is bound by the language of the policy,”
    irrespective of whether it has struck a good or bad bargain regarding salvage. Adelberg, 698


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    So. 2d at 830. Reading terms or limitations or conditions into an insurance policy violates
    Florida law. See Monticello Ins. Co. v. City of Miami Beach, 2009 WL 667454, at *11 (S.D.
    Fla. Mar. 11, 2009).
               Of course, no great challenge would have existed for Safeco to specifically and
    unambiguously require policyholders to transfer title to their total loss vehicles in exchange
    for payment, as it must under Florida law. See, e.g., Spanier v. State Farm, Case No. 0:17-cv-
    61099-KAM, ECF No. 57-1 at 39 of 54 (S.D. Fla. June 23, 2017) (policy stating, “[t]he
    damaged covered vehicle must be given to us in exchange for our payment, unless we agree
    that the owner may keep it. If the owner keeps the covered vehicle, then our payment will be
    reduced by the value of the covered vehicle after the loss.”); Bettor v. Esurance, Case No.
    0:18-cv-61860-FAM, ECF No. 6-1 at 52 of 71 (SD. Fla., Sept. 24, 2018) (policy stating “[a]ny
    payment for damaged property will be reduced by the applicable deductible shown on your
    Declarations page and by the salvage value if you or the owner retain the salvaged property”).
    That State Farm and Esurance expressly included this language in their policies demonstrates
    that a silent policy does not allow an insurer to take salvage vehicles or values as a condition
    to making actual cash value payments on total loss vehicles.
               VIII. Conclusion.
               For the foregoing reasons, Safeco’s Motion should be denied. 9



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      To the extent this Court grants all or any portion of Safeco’s Motion, Signor requests leave
    to amend her Complaint to correct any identified deficiencies. See Foman v. Davis, 371 U.S.
    178 (1962).

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                                       CERTIFICATE OF SERVICE

            I hereby certify that on January 6, 2020, the foregoing was filed with the Clerk of Court

    using the CM/ECF system, which will send a notice of electronic filing to counsel of record

    on the below service list.


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